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                         IN THE UNITED STATES DISCTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

JEFFERY L. EDWARDS;
                                                                                  PLAINTIFFS

VS.   CASE NO: 4:16-CV-0002-KGB

MONTY WHATLEY and
UNION PACIFIC RAILROAD                                                            DEFENDANTS

       BRIEF IN SUPPORT OF MOTION TO EXTEND TIME AND MOTION TO COMPEL

       Comes the Plaintiff, by and through counsel, and for this Brief states:


Defendant refuses to provide a witness for the remaining topics because individual depositions

have allegedly addressed these topics. However, this is not consistent with the law, as discussed

in the accompanying Brief. Federal Rule of Civil Procedure 30(b)(6) provides:


[A] party may name as the deponent a public or private corporation. . . and must describe with
reasonable particularity the matters for examination. The named organization must then
designate one or more officers, directors, or managing agents, or designate other persons who
consent to testify on its behalf; and it may set out the matters on which each person designated
will testify. . . .The persons designated must testify about information known or reasonably
available to the organization.

Fed.R.Civ.P. 30(b)(6). A corporation must make a conscientious good-faith endeavor to

designate the persons having knowledge of the matters sought and to prepare those persons in

order that they can answer fully, completely, unevasively, the questions posed as to the relevant

subject matters. Bank of New York v. Meridien BIAO Bank Tanzania Ltd., 171 F.R.D. 135, 151

(S.D.N.Y. 1997) (citations and quotations omitted)). As explained in Elan Microelectronics Corp.

v. Pixcir Microelectronics Co., Ltd., Case No. 2:10-cv-00014, 2013 U.S. Dist. LEXIS 114164,

2013 WL 4101811, at *1 (D. Nev. 2013):


The duty to prepare a Rule 30(b)(6) designee goes beyond matters personally known to the
witness or to matters in which the designated witness was personally involved. The duty to
produce a prepared witness on designated topics extends to matters not only within the personal
knowledge of the witness but on matters reasonably known by the responding party. By its very
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nature, a Rule 30(b)(6) deposition notice requires the responding party to prepare a designated
representative so that he or she can testify on matters not only within his or her personal
knowledge, but also on matters reasonably known by the responding entity. (citations and
quotations omitted).

2013 U.S. Dist. LEXIS 114164, [WL] at *5. Further, the fact that an organization no longer has a

person with knowledge on the designated topics does not relieve the organization of the duty to

prepare a Rule 30(b)(6) designee. United States v. Taylor, 166 F.R.D. 356, 361 (M.D.N.C.), aff'd,

166 F.R.D. 367 (1996). Thus, a corporation must prepare its Rule 30(b)(6) designee to the extent

matters are reasonably available, whether from documents, past employees, or other sources. Id.

citing Ierardi v. Lorillard, Inc., No. 90-7049, 1991 U.S. Dist. LEXIS 11320, 1991 WL 158911, at *1

(E.D. Pa. Aug. 13, 1991). In Provide Commerce, Inc. v. Preferred Commerce, Inc., No. 07-80185

Civ, 2008 U.S. Dist. LEXIS 9563, 2008 WL 360588, at *3 (S.D. Fla. Feb. 8, 2008) (Ryskamp, J.),

the plaintiff had twice deposed the defendant corporation's president in his individual capacity; it

then sought to depose the corporation's 30(b)(6) representative. The defendant corporation

designated its president as its representative, but refused to produce him for deposition. It then

moved for a protective order on the following grounds: its president had already been deposed

and, therefore, his testimony would be repetitive; his prior depositions could serve as his 30(b)(6)

testimony; and the cost of attending a second deposition would be burdensome. According to the

defendant, its president had essentially already given a Rule 30(b)(6) deposition as he had

testified about the same subject matters identified in the plaintiff's 30(b)(6) notice. After explaining

the differences between an individual's deposition under Rule 30(b)(1) and a corporate

representative's deposition under Rule 30(b)(6), the Preferred Court stated:


Although [the corporate president's] testimony may be similar under the law, a corporate entity is
distinct from the individuals who control or manage the corporation. Although the limitations on
multiple depositions of the same person apply to Rule 30(b)(6) motions, this Court did not find
any case law that barred a second deposition of an individual who was first deposed in his
individual capacity and then called to testify a second time on behalf of the corporation. [The
president] has only testified as an individual and not on behalf of the corporation.

Id. Accordingly, the court denied the defendant's motion for protective order and ruled that the
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plaintiff was entitled to take the corporate representative's Rule 30(b)(6) deposition. See also

LendingTree, Inc. v. LowerMyBills, Inc., No. 3:05CV153-C, 2006 U.S. Dist. LEXIS 59589, at *3-6,

9 (W.D.N.C. Aug. 22, 2006) (granting motion to compel Rule 30(b)(6) deposition even though

30(b)(6) designee had previously testified in his individual capacity on topics similar to those

identified in the 30(b)(6) notice); Smith v. General Mills, No. C2 04-705, 2006 U.S. Dist. LEXIS

19093, at *15 (S.D. Ohio Apr. 13, 2006) ("Courts have soundly rejected [the] argument that prior

deposition testimony from individual fact witnesses relieves a corporation from designating a

corporate spokesperson in response to a Rule 30(b)(6) notice of deposition."); Commodities

Futures Trading Comm'n v. Midland Rare Coin Exchange, Inc., No. 97-7422, 1999 U.S. Dist.

LEXIS 16939, at *9-10 (S.D. Fla. Aug. 4, 1999) (Johnson, Mag. J.) (ruling that party could depose

witness in his individual capacity for six-hours and also depose the same witness as Rule

30(b)(6) corporate representative for an additional six hours as "the depositions serve distinct

purposes, impose different obligations . . . and involve different ramifications.").   Here, the

witnesses were not obligated to prepare, and there has been no showing that there testimony is

appropriate to bind the corporation. Thus, Plaintiff moves for an Order compelling a properly

prepared corporate representative and for an Order extending discovery.

          WHEREFORE Plaintiff prays for an Order granting this Motion and for all other proper

relief.

                                                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I, Luther Oneal Sutter, do hereby certify that a true and correct copy of the foregoing has
been provided all counsel of record via ECF notification, on this 18th day of September, 2017.

Wayne Young

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